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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Helen Allen
                                Plaintiff,
v.                                                   Case No.: 1:21−cv−00962
                                                     Honorable Mary M. Rowland
Ford Motor Company
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 5, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: Attorney Rebecca
McMahon's motion to withdraw [34] is granted. The court thanks her for her service and
for her participation in the Settlement Assistance Program. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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